                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                        Case No.

                      Plaintiff,                 COUNT ONE: 18 U.S.C. § 2339A
                                                 Attempted Provision of Material Support or
       v.                                        Resources to Terrorists
                                                 NMT 15 Years’ Imprisonment
ROBERT LORENZO HESTER, JR.,                      NMT $250,000 Fine
a/k/a “Mohammed Junaid Al Amreeki,”              NMT 3 Years’ Supervised Release
a/k/a “Junaid Muhammad,”                         Class C Felony
a/k/a “Rabbani Junaid Muhammad,”
a/k/a “Rami Talib,”                              COUNT TWO: 18 U.S.C. § 2339B
a/k/a “Ali Talib Muhammad”                       Attempted Provision of Material Support or
[DOB: 04/21/1991],                               Resources to a Designated Foreign Terrorist
                                                 Organization
                      Defendant.                 NMT 20 Years’ Imprisonment
                                                 NMT $250,000 Fine
                                                 NMT 3 Years’ Supervised Release
                                                 Class C Felony

                                                 $100 mandatory special assessment each count


                                     INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                         COUNT ONE

              (Attempted Provision of Material Support or Resources to Terrorists)

       From in or about October 2016 up to and including on or about February 17, 2017, in the

Western District of Missouri and elsewhere, ROBERT LORENZO HESTER, JR., a/k/a

“Mohammed Junaid Al Amreeki,” a/k/a “Junaid Muhammad,” a/k/a “Rabbani Junaid

Muhammad,” a/k/a “Rami Talib,” a/k/a “Ali Talib Muhammad,” the defendant, did attempt to

provide “material support or resources,” as that term is defined in Title 18, United States Code,

Section 2339A(b), namely, property, service, training, and personnel, knowing and intending that




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they were to be used in preparation for, and in carrying out, a violation of Title 18, United States

Code Section 2332a, to wit, use and attempted use of weapons of mass destruction, in violation

of Title 18, United States Code, Section 2339A.

                                          COUNT TWO

                         (Attempted Provision of Material Support or
                   Resources to a Designated Foreign Terrorist Organization)

       From in or about October 2016 up to and including on or about February 17, 2017, in the

Western District of Missouri and elsewhere, ROBERT LORENZO HESTER, JR., a/k/a

“Mohammed Junaid Al Amreeki,” a/k/a “Junaid Muhammad,” a/k/a “Rabbani Junaid

Muhammad,” a/k/a “Rami Talib,” a/k/a “Ali Talib Muhammad,” the defendant, did knowingly

attempt to provide “material support or resources,” as that term is defined in Title 18, United

States Code, Section 2339A(b), namely, property, service, training, and personnel, to a foreign

terrorist organization, to wit, the Islamic State of Iraq and al-Sham (“ISIS”), which at all times

relevant to this Indictment was designated by the Secretary of State as a foreign terrorist

organization, pursuant to Section 219 of the Immigration and Nationality Act (“INA”), knowing

that ISIS was a designated foreign terrorist organization (as defined in Title 18, United States

Code, Section 2339B(g)(6)), that ISIS has engaged and engages in terrorist activity (as defined in

section 212(a)(3)(B) of the INA), and that ISIS has engaged and engages in terrorism (as defined




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in section 104(d)(2) of the Foreign Relations Authorization Act, Fiscal Years 1988 and 1989), in

violation of Title 18, United States Code, Section 2339B.


                                                    A TRUE BILL.


Dated: ___2/23/17______________                     ___/s/ Megan M. DeLeo_______________
       Kansas City, Missouri                        FOREPERSON OF THE GRAND JURY



__/s/ Brian P. Casey______________
Brian P. Casey
Assistant United States Attorney


__/s/ David Raskin________________
David Raskin
Assistant United States Attorney




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